                                UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                      SHREVEPORT DIVISION

IN RE:                                                                                CASE NO. 18-11236
DONNA L. VINSON                                                                       CHAPTER 7
JEANNIE S. EDWARDS
       DEBTORS
                                 EX PARTE MOTION TO LIMIT NOTICE

        Now into court, comes John W. Luster, Trustee, who respectfully states:

                                                       1.

        Movant filed an Application to Retain BK Global Real Estate Services to Procure Consented Public
Sale Pursuant to 11 U.S.C. §327. (Doc #45)

                                                       2.

        As the Court is aware, the Chapter 7 Trustee has liquidated assets of the debtors.

                                                       3.

        As the Court is further aware, the mailing matrix filed in this case contains parties that no longer have
any interest in the bankruptcy proceedings. The bar date for filing claims was March 11, 2019.

                                                       4.

        Movant shows that just cause exists for this Court to enter an Order limiting the notice for the hearing
on the Application to Retain BK Global Real Estate Services to Procure Consented Public Sale Pursuant to
11 U.S.C. §327 and any future motions.

                                                       5.

         Movant suggests that it would be appropriate to limit the notice to all parties who have filed a Notice
of Appearance or Request for Notice of Pleadings in the Chapter 7 case, and all parties who have filed a claim
in the case along with the Debtors, Debtors’ counsel, the Trustee, Trustee’s counsel and the Office of U S
Trustee.

         WHEREFORE, movant prays that this Ex Parte Motion be granted and that this Court enter an Order
limiting the notice and service required for the Application to Retain BK Global Real Estate Services to
Procure Consented Public Sale Pursuant to 11 U.S.C. §327 and any future motions on all parties who have
filed a Notice of Appearance or Request for Notice of Pleadings in the Chapter 7 case, and all parties who
have filed a claim in the case along with the Debtors, Debtors’ counsel, the Trustee, Trustee’s counsel and
the Office of U S Trustee.
                                              /s/ John W. Luster
                                          JOHN W. LUSTER, TRUSTEE
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